        Case 1:12-cv-00758-JAP-ACT Document 36 Filed 02/28/13 Page 1 of 1



                       IN THE UNITED ST
                                      TATES DIS
                                              STRICT COU
                                                       URT

                               DISTRICT OF NEW M
                                               MEXICO

RIO REA  AL ESTATE    E INVESTM MENT
OPPORT  TUNITIES, LLC,L     a New
                                w Mexico
limited liiability comp
                      pany,

        Plaintiff,

vs.
                                                              C
                                                              Civ. No. 12-7758 JP/ACT
                                                                                    T

TESTLA A MOTORS,, INC., a Dellaware
corporatiion,


        Defendant.
        D

                             OR
                              RDER OF PA
                                       ARTIAL DIISMISSAL

        Having
        H      entereed a MEMO
                             ORANDUM OPINION A
                                             AND ORDE
                                                    ER granting D
                                                                DEFENDAN
                                                                       NT

TESLA MOTIORS
      M       [sic],
              [      INC.’S
                          S MOTION FOR
                                   F   PARTIIAL DISMIS
                                                     SSAL (Doc.. No. 14)

contempo
       oraneously with
                  w this OR
                          RDER OF PA
                                   ARTIAL DIS
                                            SMISSAL,

        IT
         T IS ORDER
                  RED that:

      1. Counts
         C      I and
                    d IV of the COMPLAINT
                                C       T FOR BRE
                                                EACH OF CO
                                                         ONTRACT,, NEGLIGEN
                                                                          NT

        MISREPRES
        M       SENTATION
                        N, FRAUD AND
                                 A   BREA
                                        ACH OF THE
                                                 E COVENA
                                                        ANT OF GOO
                                                                 OD

        FAITH AND
                D FAIR DEA
                         ALING (Doc. No. 1-1) arre dismissedd with prejuddice; and

      2. Count
         C     III of the COMPLA
                               AINT FOR BREACH
                                        B      O
                                               OF CONTRA
                                                       ACT, NEGL
                                                               LIGENT

        MISREPRES
        M       SENTATION
                        N, FRAUD AND
                                 A   BREA
                                        ACH OF THE
                                                 E COVENA
                                                        ANT OF GOO
                                                                 OD

        FAITH AND
                D FAIR DEA
                         ALING (Doc. No. 1-1) iss dismissed w
                                                            without prejuudice.




                                         _____________________________________________
                                    ______
                                    SENIO
                                        OR UNITED STATES D   DISTRICT CCOURT JUD  DGE
